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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION
ERICA BERRIOS,

                       Plaintiff,
                                                         Case No. 1:20-cv-07072
           v.
                                                         Honorable Harry D. Leinenweber
KOS SERVICES, LLC, d/b/a DENTAL                          Magistrate Judge Sunil R. Harjani
DREAMS ,

                       Defendant.


                         DEFENDANT’S AGREED MOTION FOR
                   EXTENSION OF TIME TO FILE RESPONSIVE PLEADING

           Defendant KOS Services, LLC, d/b/a Dental Dreams (“KOS”)1, by and through its

attorneys, respectfully requests a sixteen (16) day extension of time to answer or otherwise plead

to Plaintiff’s Amended Complaint, up to and including April 9, 2021. Plaintiff is in agreement

with this Motion. In support of this Motion, KOS states as follows:

           1.      On February 12, 2021, KOS timely filed its Motion to Dismiss in response to

Plaintiff’s original Complaint. (Dkt. No. 11.)

           2.      On March 10, 2021, Plaintiff filed her Amended Complaint after being granted

leave to do so. (Dkt. No. 18.) Accordingly, KOS’s deadline to respond to Plaintiff’s Amended

Complaint is March 24, 2021.

           3.      KOS seeks a sixteen (16) day extension of time, for a total of thirty (30) days, to

prepare a responsive pleading to Plaintiff’s Amended Complaint, in which Plaintiff re-pleads

various wage and whistleblower claims.

           4.      On March 11, 2021, KOS’s counsel communicated with Plaintiff’s counsel and

requested an extension of the responsive pleading deadline in order to prepare its responsive

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    Defendant KOS Services is incorrectly named in the Complaint as KOS Services, LLC d/b/a Dental Dreams.
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pleading. Plaintiff’s counsel confirmed that Plaintiff was in agreement with a 16-day extension

of KOS’s responsive pleading deadline.

       5.      Accordingly, KOS respectfully requests a 16-day extension of time, up to and

including April 9, 2021, for KOS to answer or otherwise plead to Plaintiff’s Amended

Complaint.

       6.      If KOS’s responsive pleading deadline is extended to April 9, 2021, there are no

other existing case deadlines that will be affected.

       7.      KOS does not make this request for purposes of delay. This is the first request for

an extension of KOS’s responsive pleading deadline to Plaintiff’s Amended Complaint.

       Therefore, KOS respectfully requests that this Court grant this Agreed Motion for

Extension of Time to File Responsive Pleading, and extend the time for KOS to answer or

otherwise plead to Plaintiff’s Amended Complaint up to and including April 9, 2021.


Dated: March 22, 2021                                  Respectfully submitted,

                                                       KOS SERVICES, LLC, d/b/a DENTAL
                                                       DREAMS



                                                       /s/ Kendell R. Coates
                                                                     One of its Attorneys

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                                 CERTIFICATE OF SERVICE

         Kendell R. Coates, an attorney hereby certifies that on March 22, 2021, he electronically

filed a copy of Defendant’s Agreed Motion For Extension Of Time To File Responsive

Pleading via the CM/ECF filing system with the United States District Court for the Northern

District of Illinois, and that the following CM/ECF participants were served with a copy of same

through the CM/ECF filing system:

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                                            Seth Matus
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                                                     /s/ Kendell R. Coates
                                                       Kendell R. Coates

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